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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION


PRISCILLA A. ELLIS-ERKKILA,                         §
              Plaintiff,                            §
                                                    §                6:20-CV-01039-ADA-JCM
v.                                                  §
                                                    §
CITIBANK, J.P. MORGAN CHASE,                        §
BB&T BANK, REGIONS BANK,                            §
CAPITAL ONE, and UNITED STATES                      §
OF AMERICA FDIC,                                    §
               Defendants.

                           ORDER ADOPTING MAGISTRATE
                       JUDGE’S REPORT AND RECOMMENDATION
        Before the Court is the Report and Recommendation of United States Magistrate Judge

Jeffrey C. Manske. ECF No. 53. The report recommends that this Court grant Defendant Capital

One’s Motion to Dismiss (ECF No. 13). The report and recommendation was filed on January 25,

2022.

        A party may file specific, written objections to the proposed findings and recommendations

of the magistrate judge within fourteen days after being served with a copy of the report and

recommendation, thereby securing de novo review by the district court. 28 U.S.C. § 636(b); Fed.

R. Civ. P. 72(b). As of today, neither party has filed objections.

        When no objections are timely filed, a district court reviews the magistrate judge’s report

and recommendation for clear error. See Fed. R. Civ. P. 72 advisory committee’s note (“When no

timely objection is filed, the [district] court need only satisfy itself that there is no clear error on

the face of the record in order to accept the recommendation.”). The Court has reviewed the report

and recommendation and finds no clear error.

         IT IS THEREFORE ORDERED that the Report and Recommendation of United States

Magistrate Judge Manske (ECF No. 53) is ADOPTED.
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      IT IS FURTHER ORDERED that Defendant Capital One’s Motion to Dismiss (ECF No.

13) is GRANTED.



SIGNED this 11th day of April, 2023.




                                  ALAN D ALBRIGHT
                                  UNITED STATES DISTRICT JUDGE
